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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MARYLAND



DEBORAH LAUFER, Individually,                     )
                                                  )
             Plaintiff,                           )
                                                  )
vs.                                               )       Case No. 20-cv-01973-SAG
                                                  )
BRE/ESA P PORTFOLIO, LLC, A                       )
Maryland Corporation,                             )
                                                  )
             Defendant.                           )
                                                  )

             MOTION OF DEFENDANT BRE/ESA P PORTFOLIO, LLC TO DISMISS



             Defendant BRE/ESA P Portfolio, LLC ("Defendant") moves this Court for an Order

dismissing the Complaint of Plaintiff Deborah Laufer ("Plaintiff") on the ground that Plaintiff

lacks standing and the Court lacks subject matter jurisdiction to hear the case.

             This Motion is based on the concurrently filed Memorandum of Points and Authorities

and Request for Judicial Notice, as well as the pleadings and documents on file herein and other

such evidence and argument that may be presented in connection with this Motion.




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Dated: August 31, 2020                        Respectfully submitted,


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                                                  Attorney for Defendant BRE/ESA P Portfolio,
                                                  LLC

                                                  Pro Hac Vice Application to be filed


                                   CERTIFICATE OF SERVICE

             The undersigned hereby declares that on this 31st day of August, 2020, a true and

accurate copy of the foregoing was served via the court’s Electronic Case Filing system on all

counsel of record.


                                                      /s/    Michelle M. McGeogh
                                                      Michelle M. McGeogh




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